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   NOT FOR PUBLICATION
                                                                                     JUN 13 2018
                                  UNITED STATES DISTRICT COURT
                                     ,DISTRICT OF NEW JERSEY                    AT 8:30               M
                                                                                   WILLIAM T. WALSH
                                                                                        CLERK



   IN RE DUCTILE IRON PIPE FITTINGS                         Civ. No. 12-169
   ("DIPF") INDIRECT PURCHASER
   ANTITRUST LITIGATION


                 ORDER GRANTING FINAL APPROVAL OF CLASS ACTION
               SETTLEMENT BETWEEN INDIRECT PURCHASER PLAINTIFFS
               AND DEFENDANT MewANE, INC., APPROVING THE PLAN OF
                   ALLOCATION, AND ENTERING FINAL JUDGMENT

   THOMPSON, U.S.D.J.

          This CAUSE having come before the Court on the application of Indirect Purchaser

   Plaintiffs for Final Approval of the Class Action Settlement with Defendant Mc Wane, Inc. and the

   Plan of Allocation in the above-entitled action (ECF No. 337); following a final fairness hearing

   in accordance with Federal Rule of Civil Procedure 23; and for good cause having been shown,

          IT IS on this 13th        day of June, 2018 ORDERED that the Motion is GRANTED.

          Based upon the Court's review of the Settlement Agreement between Indirect Purchaser

   Plaintiffs ("IPPs" or "Plaintiffs") and Defendant Mc Wane, Inc.("Mc Wane"), the Notice of Motion,

   the accompanying Memorandum, Declaration, and exhibits, any objections filed of record, and the

   complete record and files in the above-entitled action (the "Action"), having heard oral argument

   presented at the Final Settlement Approval Hearing, the Court determines as follows:

          1.         The Court has jurisdiction over the subject matter of this action.

          2.         All terms used in this Order that are defined in the Settlement Agreement shall have

   the same meaning in this Order as in the Settlement Agreement (ECF No. 334-2), unless otherwise

   defined herein.




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              3.      For purposes of settlement only, pursuant to Fed. R. Civ. P. 23(a) and (b)(3), the

       Court hereby certifies a Settlement Class consisting of:

                      All persons or entities that reside or have a place of business in the
                      States of Arizona, Arkansas, California, District of Columbia,
                      Florida, Hawaii, Iowa, Kansas, Maine, Massachusetts, Michigan,
                      Minnesota, Mississippi, Montana, Nebraska, Nevada, New
                      Hampshire, New Mexico, New York, North Carolina, North
                      Dakota, Oregon, South Carolina, South Dakota, Tennessee, Utah,
                      Vermont, West Virginia, and Wisconsin (the "Settlement Class
                      States") who or that purchased DIPF indirectly from any Defendant
                      at any time from January 11, 2008, through June 30, 2011 or who or
                      that purchased Domestic DIPF indirectly from Mc Wane or SIGMA
                      at any time from September 17, 2009, through December 31, 2013.

              Excluded from the Settlement Class are any Opt-Out Purchasers, Defendants and their

       parents, subsidiaries and affiliates, whether or not named as a Defendant in this Action, federal

       governmental entities, and instrumentalities of the federal government. "Opt-Out Purchasers"

       means the persons or entities listed on Exhibit l hereto who have timely exercised their rights to

       be excluded from the Settlement Class.

              4.      The Settlement was attained following an extensive investigation of the facts. It

       resulted from vigorous arm's-length negotiations which were undertaken in good faith by counsel

       with significant experience litigating antitrust class actions, and with the assistance of well-

       qualified mediators.

              5.      Final approval of the Settlement with Mc Wane is granted pursuant to Fed. R. Civ.

       P. 23(e), because the Settlement Agreement is "fair, reasonable and adequate" to the Settlement

       Class, and the parties are directed to consummate the Settlement Agreement in accordance with

       its terms. In reaching this conclusion, the Court considered the factors set forth in Girsh v. Jepson,

       521F.2d153 (3d Cir. 1975).




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          6.      The Court grants final certification to the proposed Settlement Class pursuant to

   Fed. R. Civ. P. 23 (e), and finds and concludes that the requirements of Fed. R. Civ. P. 23(a) and

   23(b)(3) have been satisfied as follows:

          (a)     the members of the Settlements Class are so numerous that joinder of all class
                  members is impracticable;

          (b)     the claims of the Named Plaintiffs are typical of the claims of the Settlement Class;

          (c)     Named Plaintiffs and Interim Co-Lead Counsel will fairly and adequately represent
                  and protect the interests of the Settlement Class Members;

          (d)     There are questions of law and fact common to the Settlement Class which
                  predominate over any individual questions; and

          (e)     a class action is superior to other available methods for the fair and efficient
                  adjudication of the controversy.

          7.      The persons and entities identified in Exhibit    1, which is attached hereto and
   incorporated by reference herein, have timely and validly requested exclusion from the Settlement

   Class and are hereby excluded from the Settlement Class, are not bound by this Order and Final

   Judgment, and may not make any claim against or receive any benefit from the Settlement with

   Mc Wane, whether monetary or otherwise. These excluded persons or entities may not pursue any

   Released Claims on behalf of those who are bound by this Order and Final Judgment. Each

   member of the Settlement Class not appearing in Exhibit 1 is bound by this Order and Final

   Judgment, and will remain forever bound.

          8.      Mc Wane has complied with the notice requirements of the Class Action Fairness

   Act of 2005 ("CAFA"), 28 U.S.C. § 1715, having filed notification of the Settlement with

   the appropriate federal and state officials. (See McWane CAFA Notice, ECF No. 336.) No

   objections or requests for hearings have been made by any federal or state official within 90 days

   from the date on which Mc Wane fulfilled its obligation under CAF A.



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          9.      The Court hereby confirms the appointment ofDavid E. Kovel ofKirby Mcinerney

   LLP; Joseph C. Kohn of Kohn, Swift & Graf, P.C.; and Robert S. Kitchenoff of Weinstein

   Kitchenoff & Asher LLC as Settlement Class Counsel for IPPs in the Mc Wane Settlement, having

   determined that the requirements of Rule 23(g) of the Federal Rules of Civil Procedure are fully

   satisfied by this appointment.

           10.    The Court appoints TC Construction Co. Inc., Waterline Industries Corporation,

   Waterline Services, LLC, Yates Construction Co., Inc., the City of Hallandale Beach, Florida,

   Wayne County, Michigan, the South Huntington Water District, New York, the Village of

   Woodridge, New York, and Water District No. 1 of Johnson County, Kansas as representatives of

   the Settlement Class in the Mc Wane settlement.

           11.    The Preliminary Approval Order (ECF No. 335) outlined the form and manner by

   which Plaintiffs would provide the Settlement Class with notice of the Settlement, the Settlement

   Hearing, opt-out and exclusion deadlines, and related matters. The Notice Program included

   individual notice to members of the Settlement Class who could be identified through reasonable

   effort as well as an extensive nationwide media campaign. Proof of compliance with the notice

   mailing and publication terms as set forth in the Preliminary Approval Order has been filed with

   the Court. The Class Notice constituted the best notice practicable under the circumstances,

   satisfied Rule 23 of the Federal Rules of Procedure and due process, and constitutes sufficient

   notice for all other purposes to all persons entitled to receive notice.

           12.    The Court also finds that the proposed Plan of Allocation, which was disclosed in

   the Class Notice sent to members of the Settlement Class, is fair, reasonable, and

   adequate. Therefore, the Court grants final approval to the Plan of Allocation.




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                 13.   Any and all lawsuits pending against Mc Wane or any of the Releasees asserting the

       Released Claims shall be dismissed with prejudice and without costs, except as provided for in the

       Settlement Agreement.

                 14.   The Releasors are permanently enjoined and barred from instituting, commencing,

       or prosecuting any action or other proceeding asserting any Claims released in Paragraphs 29-31

       of the Settlement Agreement against any Releasee, either directly, individually, representatively,

       derivatively, or in any other capacity, by whatever means, in any local, state, or federal court, or

       in any agency or other authority or arbitral or other court or forum wherever located.

                 15.   The Releasors remise, release, acquit, and forever discharge, and covenant not to

       sue the Releasees from and for Claims as set forth in Paragraphs 29-31 of the Settlement

       Agreement.

                 16.   Plaintiffs and their directors, officers, employees, and counsel are hereby released

       from any claim by Mc Wane and the Releasees relating to the institution or prosecution of the

       Action.

                 17.   This Order and Final Judgment does not settle or compromise any claims by Class

       Representatives or the Settlement Class against other persons or entities other than the Releasees,

       and all rights against any other non-released person or entity are specifically reserved.

                 18.   Neither the Settlement Agreement, nor this Order and Final Judgment, nor any

       other papers relating to the Settlement Agreement, nor any negotiations, discussions or

       proceedings in connection herewith shall be:

                       (a)    offered or received against any Releasee as evidence of or construed as or

       deemed to be evidence of any presumption, concession, or admission by any Releasee of the truth

       of any fact alleged by indirect purchasers or the validity of any claim that has been or could have



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       been asserted in the Action or in any other proceeding, or the deficiency of any defense that has

       been or could have been asserted in the Action or in any proceeding, or of any alleged liability,

       negligence, fault, or wrongdoing of the Releasee; or

                      (b)    offered or received against any Releasee as evidence of a presumption,

       concession, or admission of any fault, misrepresentation or omission with respect to any statement

       or written document approved or made by any Releasee.

               19.    Without affecting the finality of this Order and Final Judgment, the Court retains

       exclusive jurisdiction over the Action and the Settlement Agreement, including the administration,

       interpretation, consummation, and enforcement of the Settlement Agreement.

              20.     The Settlement Agreement shall be governed by and interpreted according to the

       substantive laws of the State of New Jersey without regard to its choice of law or conflict of law

       principles.

              21.     The escrow account established by the parties is approved as a Qualified Settlement

       Fund pursuant to Internal Revenue Code Section 468B and the Treasury Regulations promulgated

       thereunder.

              22.     Pursuant to Fed. R. Civ. P. 54(b), the Court finds that there is no just reason for

       delay and hereby directs the entry of final judgment of dismissal forthwith as to the Releasees.




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                     EXHIBIT 1
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       1013456 CITY OF BILLINGS                      BILLINGS         MT
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                                                            CITY OF BILLINGS
                                                             CITY ATTORNEY'S OFFICE
                                                                    P.O. BOX 1178
                                                              BILLINGS, MONTANA 59103                                         (406) 657-8205
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   May 8~.2018

   DIPF Indirect                    Purchaser Antitrust litigation
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   To Whom it May Concern:

   Please be advised that the City of Billings wants to be excluded from the McWan.~ Settlemer.t ..The case
   name is In re Ductile Iron Pipe Fittings {''DIPF"}lndirect Purchaser Antitrw:it Litigation, Civ. No. 12-169
   (D.N.J.).


   Sincerely,                                           .


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   Brent' Brooks
   Ci~y Attorn~v
   P.O. Box.l'-1'78
   Billings,             MT 59103
   406.657.8205


   CC: DP.bi Meling, City Engineer




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                                                             DIPF Indirect Purchaser Antitrust Litigation
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                                                             P.0. Box 10251
                                                             Dublin, OH 43017-5751




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   Platte County Public Water Supply District No 6
   7123 NW Eastside Drive Parkvi Ile, Missouri 64152

   T: 816-741-7790
   F: 816-298-6339
   E-mail:   wat~_rdistric_t6((/:vahon.<.:om


   April 9, 2018



   DIPF Indirect Purchaser Antitrust Litigation c/o GCG
   P.O. Box 0251
   Dublin, OH 43017-5751


   Regarding Case: In re Ductile Iron Pipe fittings C"DIPF") Indirect Purchaser Antitrust Litigation,
                   CIV. Mo. 12-169 (D.N.J.).


  To whom it may concern:

   Please exclude Platte County Public Water Supply District No 6 located at 7123 N. W. Eastside
   Drive Parkville, Missouri 64152 from the Mc Wane Settlement.

  PWSD 6 understands that we will not be entitled to any compensation from the MCWane
  Settlement Fund and that we cannot object to the Mc Wane Settlement, the Plan of Allocation or
  has any right to sue.

   If you have further questions you may contact me at 816-741-7790 Monday-Friday 9 a.m. to 5
  p.m.




~aH~
  District Manager




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                  Public Water Supply District No. 6                                                                                              .
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